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                          IN THE UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF MARYLAND, SOUTHERN DIVISION
__________________________________________
                                               )
J.O.P., et al.,                                )
                                               )
                 Plaintiffs,                   )
                                               )
        v.                                     ) Case No. 8:19-cv-01944-SAG
                                               )
U.S. DEPARTMENT OF HOMELAND                    )
SECURITY, et al.                               )
                                               )
                 Defendants.                   )
__________________________________________)

                                    NOTICE OF APPEAL

       Notice is hereby given that Defendants the United States Department of Homeland

Security, et al., in the above captioned case hereby appeal to the United States Court of Appeals

for the Fourth Circuit from the Memorandum Opinion and the Order entered on April 23, 2025,

by the Honorable United States District Judge Stephanie Gallagher granting Class Counsel’s

Motion to Enforce the Settlement Agreement and Motions to Proceed Under Pseudonym, ECF

Nos. 253, 254; and the Order entered on May 6, 2025, by the Honorable United States District

Judge Stephanie Gallagher denying in part and granting in part Defendants’ Motion to Vacate

Section Two of the Court’s Order Granting Plaintiffs’ Motion to Enforce the Settlement

Agreement or, in the Alternative, to Stay Section Two Pending Appeal, ECF No. 270.

Dated: May 7, 2025                           Respectfully submitted,

                                              YAAKOV M. ROTH
                                              Acting Assistant Attorney General
                                              Civil Division

                                              WILLIAM C. PEACHEY
                                              Director
                                              Office of Immigration Litigation
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                              YAMILETH G. DAVILA
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                              Trial Attorney

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